Case 2:05-Cr-20211-BBD Document 15 Filed 06/17/05 Page 1 of 2 Page|D 15

IN THE UNITED STATES DISTRICT COURT F"ED B"' 911 ac
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
FlO
CL§§I§T;S?€ 9

 

. \¢r T}\J '\.jgrvsp}$[§

UNITED S'I`ATES OF AMERICA,

Plaintiff, Case No. 05-20211 D P

vs.
JOHN SIMMONS,

Defendant.

 

ORDER OF REFERENCE

 

Before the Court is Defendant’s Petition for Examination Pursuant to 18 U.S.C. § 4241 filed
on June 9, 2005, in this case.

This matter is hereby referred to the United States Magistrate Judge for a hearing and a
Report and Recornmendation. Any exceptions to the Magist;rate Judge’s order shall be made by
motion within ten (10) days of the order. Further, all exceptions shall be stated with particularityl

IT ls so 0RDERE1) this / 12 day of 2005.

rand/w

B lcE§'ISONA‘LD
UNITED sTATEs DIsTRlcT JUDGE

Thls doc:.ment entered on the docket sheet |n com lia ce
with n.ne 55 andre aarb) mach on L£ ZO__S_

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 15 in
case 2:05-CR-202ll Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 .lefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Tu Pham
US DISTRICT COURT

